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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )      CRIMINAL ACTION NO.
      v.                            )         2:12cr57-MHT
                                    )             (WO)
VONECIA ORUM                        )


                          OPINION AND ORDER

      Defendant Vonecia Orum has been charged in a 28–count

indictment with conspiracy to defraud the United States

and aiding the filing of a false tax return.

      This matter is now before the court on Orum’s motion

to    dismiss    the    indictment       for   unreasonable       delay.

Specifically, Orum challenges pre-indictment delay: the

period in which the government was allegedly prepared to

bring criminal charges, but instead unreasonably chose to

wait.      “The speedy trial guarantee of the sixth amendment

does not apply to preindictment delay.”              United States v.

Lindstrom, 698 F.2d 1154, 1157 (11th Cir. 1983) (citing

United States v. Lovasco, 431 U.S. 783, 788 (1977) and

United States v. Marion, 404 U.S. 307, 320 (1971)), but
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“the Due Process Clause has a limited role to play in

protecting against oppressive [pre-indictment] delay.”

Lovasco, 431 U.S. at 789.

        “[T]he Constitution places a very heavy burden on a

defendant to show that pre-indictment delay has offended

due process.”         Stoner v. Graddick, 751 F.2d 1535, 1540

(11th    Cir.    1985).      In   the   Eleventh    Circuit,     for   a

defendant to obtain dismissal of an indictment based on

pre-indictment delay, she must show: “(1) that the delay

caused actual prejudice to the conduct of [her] defense,

and (2) that the delay was the product of deliberate

action by the government designed to gain a tactical

advantage.”          Lindstrom, 698 F.2d at 1157.           “Tactical

advantage       is   the   touchstone   in   pre-indictment       delay

cases.”    United States v. Wetherald, 636 F.3d 1315, 1324

(11th Cir. 2011).

    Orum contends that showing “deliberate action” aimed

at obtaining tactical advantage is not necessary; rather,

she may succeed with a showing of mere governmental



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“recklessness” or “gross negligence.”                  Orum cites United

States v. Morrison, 518 F. Supp. 917, 919 (S.D.N.Y. 1981)

(Duffy,       J.)     (dismissing         indictment       because         of

government’s “grossly negligent” pre-indictment delay)

for    support.        But,    “[u]nder       the   standard    ...   used

consistently in this circuit, to prevail on a due process

claim,      the     defendant[s]       must     show     that   ...       the

prosecution deliberately caused the delay to gain any

tactical advantage.”          United States v. Benson, 846 F.2d

1338, 1342-43 (11th Cir. 1988) (emphasis added; quotation

marks and citation omitted); accord Wetherald, 636 F.3d

at 1324; see also United States v. Stoll, 2011 WL 939251,

at *12 (S.D. Fla. Feb. 16, 2011) (Seltzer, M.J.) (“[T]he

‘reckless disregard’ test ... has not been adopted--but

rejected–-by        the     Eleventh      Circuit.”),       report        and

recommendation adopted, 2011 WL 765949 (S.D. Fla. Feb.

25, 2011) (Cohn, J.).

      However, “the ‘reckless disregard’ test does find

some support in the law.”            Stoll, 2011 WL 939251, at *9.



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In fact, in Lovasco, one of the principal Supreme Court

cases in this area, the Court quoted the United States’s

brief as stating, “‘A due process violation might also be

made out upon a showing of prosecutorial delay incurred

in reckless disregard of circumstances, known to the

prosecution, suggesting that there existed an appreciable

risk that delay would impair the ability to mount an

effective defense.’”         431 U.S. at 795 n.17 (emphasis

added).      But,   the    Court       immediately    followed     that

quotation by noting that it had no occasion to decide the

issue because there was no evidence of recklessness in

that case.    Id.    The Eleventh Circuit has examined that

language in Lovasco and decided to treat it as dicta,

rather than binding law.           See Benson, 846 F.2d at 1341

n.3 & 1343 n.5; see also Stoll, 2011 WL 939251, at *11

(“[T]he Eleventh Circuit does not attach any precedential

value to Lovasco's reference to the suggested ‘reckless

disregard’ test.”).




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      It may be the case that compared to the Eleventh

Circuit’s current approach, adopting recklessness as the

operative      standard      better       promotes   the   “fundamental

conceptions of justice which lie at the base of our civil

and     political       institutions,         and    ...    define        the

community's sense of fair play and decency,” and which

are at the heart of the Due Process Clause.                 Lovasco, 431

U.S. at 790 (quotation marks and citations omitted).* But


     * Pre-indictment delay claims under the Due Process
Clause have a similar purpose in our judicial system as
the doctrine of laches. Laches is an equitable defense
that allows a defendant in a civil trial to have the case
against him dismissed if he suffered prejudice as a
result of the plaintiff’s unreasonable delay in bringing
the   lawsuit.     See,   e.g.,   Chirco  v.   Crosswinds
Communities, Inc., 474 F.3d 227, 231 (6th Cir. 2007).
Laches promotes “the desire to avoid unfairness that can
result from the prosecution of stale [civil] claims.”
Goodman v. McDonnell Douglas Corp., 606 F.2d 800, 805
(8th Cir. 1979). Similarly, the Due Process Clause “has
a limited role to play in protecting against oppressive
delay” that results in “overly stale criminal charges.”
Lovasco, 431 U.S. at 789 (quotation marks and citations
omitted). But, it has long been the case that laches can
be asserted where gross negligence or recklessness (and
not deliberative conduct) caused the complained-of delay.
See, e.g., Chirco, 474 F.3d at 231 (“[L]aches is ... a
negligent and unintentional failure to protect one's
rights.”) (quotation marks and citation omitted);
                                           (continued...)
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regardless,      “this    court       is   bound     by   the   Eleventh

Circuit's decision” and the court declines the invitation

to disregard circuit precedent.               Ballenger v. Sikorsky

Aircraft Corp., 2011 WL 5245209, at *2 (M.D. Ala. Nov. 3,

2011)   (Thompson,       J.);   see    also   Langston     v.   Carraway

Methodist Hospitals of Alabama, Inc., 840 F. Supp. 854,

864 n.10 (N.D. Ala. 1993) (Nelson, J.) (“The plaintiffs

urge the court to adopt the more liberal approach ...

used by the Third Circuit Court of Appeals ....                 That, of

course, is not possible.           It is the law of the Eleventh

Circuit   that    binds     this      court   and,    where     there   is



    *(...continued)
Stearns-Roger Mfg. Co. v. Brown, 114 F. 939, 944 (8th
Cir. 1902) (“[C]ourts of equity apply the doctrine of
laches on the principle that one ought not to be
permitted to deny the existence of facts which he has
intentionally or recklessly induced another to believe to
his prejudice.”) (emphasis added); Brown v. Buena Vista
Cnty, 95 U.S. 157, 160 (1877) (“[A] court of equity
applies the rule of laches according to its own ideas of
right and justice. Every case is governed chiefly by its
own circumstances. Whether the time the negligence has
subsisted is sufficient to make it effectual is a
question to be resolved by the sound discretion of the
court.”) (emphasis added); McKnight v. Taylor, 42 U.S.
161, 167 (1843) (“[A 19-year delay] would seem to have
been the result of mere negligence and laches.”)
(emphasis added).
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controlling precedent from the circuit, this court is

bound to follow it.”) (Nelson, J.).

    Turning to Orum’s factual allegations, this court

observes    that    she   raises    only   generalized        claims    of

prejudice.       She   notes    that    four   years    have    elapsed

between most of the conduct charged in the indictment;

discovery in this case has been immense and ongoing; and,

because    of    the   volume      of   discovery,     she     has     had

difficulty interviewing potential witnesses.                  Given the

“very heavy burden” she must carry, Stoner, 751 F.2d at

1540,     such     generalized      claims     of    prejudice         are

insufficient.       The court has no indication as to which

potential witnesses in particular, or even what sort of

witnesses, she has been thwarted in calling.                    Compare

Lindstrom, 698 F.2d at 1158 (holding that defendants

adequately showed prejudice by establishing that two

witnesses they would have called but for governmental

delay had died).

    As     for   governmental       culpability,       Orum    provides

entirely no evidence that the government deliberately

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delayed bringing this case to obtain tactical advantage.

Instead, she essentially contends that a four-year delay

(which occurred in this case) is, on its face, reckless.

For    the     reasons     discussed           above,      that     argument     is

insufficient        as     a    matter        of     law   under      controlling

Eleventh Circuit precedent.                   Moreover, even if the court

were to apply a recklessness standard here, Orum has not

sufficiently shown that the government in fact acted with

recklessness in her case.

      Additionally,            to   the   extent       that     a   deliberative

intent       to   cause        prejudice       could       be   inferred       from

circumstantial evidence, there has not been a sufficient

factual showing in this case for the court to make such

an inference.        See United States v. Davis, 231 F. Supp.

2d 701, 707 (S.D. Ohio 2002) (Rice, J.) (“Defendants must

demonstrate, by evidence, not naked argument, that the

Government intended to delay for the purpose of gaining

an    advantage.         Defendants           argue    that     the    Court    can

‘infer’ ... that the Government delayed to do just that.

The    Court      finds,       however,       that    Defendants       failed    to

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adduce sufficient evidence at the evidentiary hearing to

substantiate any such inference.”) (citation omitted).

       After trial begins, if Orum has specific evidence

sufficient to sustain her “very heavy burden,” she may

raise the issue again with the court.             Cf. United States

v. Benshop, 138 F.3d 1229, 1234 (8th Cir. 1998) (holding

that it would be “both unfair and unwise” to decide that

defendants waive pre-indictment delay claims on appeal if

they    assert   the   argument    early    in   proceedings      while

failing to reassert it at the end of trial).                   But for

now, it is clear that Orum has not shown cause for

dismissal.



                                  ***

       Accordingly, for the foregoing reason, it is ORDERED

that defendant Vonecia Orum’s motion to dismiss for pre-

indictment delay (Doc. No. 129) is denied.

       DONE, this the 2nd day of November, 2012.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
